                           Case
AO 106 (Rev. 04/10) Application for a 2:21-mj-00896
                                      Search Warrant            Document 1 Filed 05/20/21 Page 1 of 8


                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District
                                                      __________        of Pennsylvania
                                                                  District  of __________

             In the Matter of the Search of                             )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )      Case No. 21-896-M
                   MARSHALL ONUORAH                                     )
                                                                        )
                                                                        )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
                                   The person of Marshall Onuorah who is a detainee (register number 73615-050,
 DOB: 9/3/1989) at the Federal Detention Center in Philadelphia, Pennsylvania

located in the             Eastern                District of          Pennsylvania           , there is now concealed (identify the
person or describe the property to be seized):
 DNA of Marshall Onuorah


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                        Offense Description
        18 U.S.C. § 922(g)(1)                      Felon in Possession of a Firearm



          The application is based on these facts:
        See Attached Affidavit

          ✔ Continued on the attached sheet.
          u
          u Delayed notice of        days (give exact ending date if more than 30 days:                               ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                              s/ Royal Spurlark
                                                                                             Applicant’s signature

                                                                                      Royal Spurlark, ATF Special Agent
                                                                                             Printed name and title

Sworn to before me and signed in my presence.

Date:            05/20/2021                                                             s/ Carol Sandra Moore Wells
                                                                                               Judge’s signature

City and state: Philadelphia, Pennsylvania                                  Carol Sandra Moore Wells, U. S. Magistrate Judge
                                                                                             Printed name and title
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN THE MATTER OF THE SEARCH OF                     MAG No. 21-896-M
 MARSHALL ONUORAH


                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

I, Royal Spurlark, being duly sworn, depose and say:

   I.        INTRODUCTION

        1.     I have been employed as a Special Agent of the United States Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”) for approximately 3 years. I am currently assigned

to the ATF Camden, New Jersey, Field Office, where I investigate various violations of federal

criminal law, including crimes involving the unlawful possession of firearms.

        2.     I am submitting this Affidavit in support of a search warrant for a DNA sample of

Marshall Onuorah (“Onuorah”) who is a detainee at the Philadelphia Federal Detention Center

(register number 73615-050, DOB: 9/3/1989) in Philadelphia, Pennsylvania.

        3.     This application will establish probable cause to believe that evidence, fruits and

instrumentalities of violations of federal law, relating to firearm possession by a felon, in

violation of Title 18, United States Code, Section 922(g)(1) will be found on Onuorah.

        4.     I am aware of the facts contained herein based upon my own investigation as well

as my discussions with other law enforcement officers having knowledge of the case from their

participation in the investigation. Moreover, I have reviewed available documents which are

relevant to this investigation. Because this Affidavit is submitted for the limited purpose of

establishing probable cause to obtain DNA samples of Onuorah, it does not include all facts

known to law enforcement or relevant to the investigation. Where the contents of statements and


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conversation of others are reported herein, they are reported in substance and in part, except

where otherwise indicated. Furthermore, whenever I assert in this Affidavit that a statement was

made, it should be noted that some of the information regarding such statements may have been

provided by other law enforcement personnel (who may have had either direct or indirect

knowledge of the statement) to whom I have spoken or whose report I have read and reviewed.

Similarly, information resulting from surveillance may not be based on my personal

observations, but rather may have been provided either directly or indirectly to me by other law

enforcement personnel who conducted such surveillance. Where I assert that an event occurred

on a particular date, I am asserting the event occurred on or about the date alleged.

   II.        PROBABLE CAUSE

         5.     On January 29, 2020, Camden County Police Officers Ngo and Melton were

patrolling in a marked patrol car in a high-crime area of Camden, New Jersey. They observed

Onuorah knocking on the front door of a house known by Officer Ngo to be used by drug

dealers. Officer Ngo was personally familiar with Onuorah and was aware that Onuorah had

previous arrests for violent crimes and firearm-related offenses.

         6.     Officer Ngo directed his car’s spotlight toward Onuorah, and upon noticing the

police car, Onuorah immediately put both hands down his pants and bladed his body away from

the officers in an attempt to conceal the front of his waistband from them. Officer Melton exited

the car to approach Onuorah. As Officer Melton exited the car, Onuorah continued to try to

shield his waistband from the officers’ view as he began to walk away. Within a few moments,

Onuorah fled.

         7.     Both officers pursued Onuorah on foot. Officer Ngo recalled seeing Onuorah’s

hand on the butt of a handgun that Onuorah was concealing under his pants near the start of the


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chase. The officers both recalled seeing Onuorah using his other hand to conceal a bulkier,

heavier object under his pants as he ran. Onuorah’s running stride was awkward because he was

running with both hands holding objects under his pants.

       8.      As the officers pursued Onuorah through a small field next to an alley, they heard

a heavy object drop from Onuorah, at which point Onuorah’s stride improved as he proceeded to

only hold one object under his pants. Officers pursued Onuorah for another flew blocks before

he ceased his flight, apparently from exhaustion. Officers recalled that Onuorah fell awkwardly

by swinging his arms forward as if to discard an object instead of bracing himself as the bottom

of his body fell backwards.

       9.      After officers detained Onuorah, they began a search for the objects that he

concealed under his pants during his flight. Several minutes later, Officer Ngo located a

partially-transparent 50-round drum magazine loaded with 46 rounds of .40 caliber ammunition.

Officer Ngo found the magazine in the small field, in the approximate location where officers

heard Onuorah drop a heavy object during his flight.

       10.     Several minutes later, another officer located a firearm in the front yard of the

property adjacent to where Onuorah was detained after appearing to discard an item from his

hands. The firearm was a .40 caliber pistol with a Polymer 80, Inc. frame bearing model number

PF940V2 and Glock slide bearing serial number FZU390 (hereinafter, “Polymer 80 pistol”).

Attached to the Polymer 80 pistol was a small “switch” that converted the firearm into an

automatic weapon. A crime scene technician swabbed the surfaces of the Polymer 80 pistol,

magazine, and ammunition for potential DNA.

       11.     Onuorah has multiple felony convictions. On June 10, 2020, a grand jury in the

District of New Jersey returned an Indictment charging Onuorah with one count of being a felon



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in possession of a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1). See District of

New Jersey Crim. No. 20-482 (NLH). Trial is scheduled for June 18, 2021.

          12.     On or about May 14, 2021, an ATF laboratory technician informed me that

multiple DNA profiles were identified on the swab from the Polymer 80 pistol. The technician

further indicated that to determine whether one of the DNA profiles from the Polymer 80 pistol

matched Onuorah, a fresh DNA sample would be needed from Onuorah.

          13.     On May 20, 2021, Onuorah’s attorney indicated that Onuorah would not consent

to providing a DNA sample.

   III.         DNA COLLECTION

          14.     The DNA sample will be collected at the Philadelphia Federal Detention Center in

Philadelphia, Pennsylvania. I, or another federal agent or officer, will obtain saliva and/or buccal

samples from Onuorah. I am not seeking authorization to draw blood from Onuorah. At no time

will I or any other law enforcement official ask any questions of Onuorah about any of the events

that are relevant to the pending federal charges against him.




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   IV.         CONCLUSION

         15.     In light of these facts, I respectfully submit that there is probable cause to believe

that the DNA of Marshall Onuorah may be found on the swab collected from the Polymer 80

pistol recovered the night of his arrest. I further submit that there is probable cause to believe

that the DNA sample of Marshall Onuorah constitutes evidence of a federal crime, that is,

firearm possession by a felon, in violation of Title 18, United States Code, Section 922(g)(1),

and that those items are subject to search pursuant to Rule 41(c )(1) of the Federal Rules of

Criminal Procedure. Accordingly, I ask the Court to issue a warrant to collect DNA from

Marshall Onuorah.


                                                Respectfully submitted,



                                                ___s/ Royal Spurlark_______
                                                ROYAL SPURLARK
                                                ATF Special Agent


Subscribed and sworn to before me
on May 20, 2021:


___s/ Carol Sandra Moore Wells_______________
Honorable CAROL SANDRA MOORE WELLS
UNITED STATES MAGISTRATE JUDGE




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AO 93 (Rev. 1/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Eastern District
                                                         __________         of of
                                                                     District  Pennsylvania
                                                                                  __________

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.   21-896-M
                             Marshall Onuorah                            )
                                                                         )
                                                                         )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Eastern  District of         Pennsylvania
(identify the person or describe the property to be searched and give its location):

      The person of Marshall Onuorah who is a detainee (register number 73615-050, DOB: 9/3/1989) at the Federal Detention
      Center in Philadelphia, Pennsylvania




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      DNA sample of Marshall Onuorah obtained from a buccal swab or saliva




         YOU ARE COMMANDED to execute this warrant on or before                    June 3, 2021         (not to exceed 14 days)
       ✔ in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.
       u

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    the duty Magistrate Judge                .
                                                                                               (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:             05/20/2021 2:31 pm                                           s/ Carol Sandra Moore Wells
                                                                                                       Judge’s signature

City and state:              Philadelphia, Pennsylvania                             Carol Sandra Moore Wells, U. S. Magistrate Judge
                                                                                                     Printed name and title
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AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:
   21-896-M
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                       Executing officer’s signature


                                                                                          Printed name and title
